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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DISTRICT
United States of America )
)
v. ) Noi9 CR 226-1
) Hon. Virginia M. Kendall
Robert M. Kowalski, )
Defendant )

AMENDED MOTION TO DISMISS STANDBY COUNSEL
FAILURE TO PROVIDE EFFECTIVE ASSISANCE OF COUNSEL

 

 

Now comes Robert M. Kowalski (Robert), pro se in support of his Motion to
Dismiss Standby Counsel for failure to provide effective assistance of counsel states as
follows:

On December 23, 2020, this court allowed Robert to proceed pro se. Recognizing
that Robert has been a licensed Illinois attorney for the past thirty years and having
been a member of the general bar of this court. However, the court order provided for
Stand by Counsel over Robert’s vehement objection.

Regrettably, the lackluster performance of the Federal Defender Program and
more particularly counsel Mr. Imani Chiphe have fallen grievously below the standards
expected of those defending a man who is fighting for his life. Justifying Robert’s ire.
They have acted more like jail ushers rather than zealous knowledgeable advocates.
Stand by does not mean stand idle, while inartfully, and more importantly
unprofessionally fouling things up to the detriment of their client. Their performance
has caused this court to unfairly admonish Robert. Prejudicing and even allowing the
court to jail him for stand by counsel’s own rookie-like inexplicable shortcomings.

Certain Federal Defender Program filings on behalf of Robert were required to

have been made under seal. However, not recognizing and abiding by this courts
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protective order these filings were not made under seal. Thus, earning Robert a well-
earned rebuke from the court. The Federal Defenders have not forwarded all discovery
received. Federal Defender Program has not forwarded a prosecution team response
originally filed under seal with redactions. Robert is unable to reply until and unless he
receives this pleading. Critically, Robert’s motion to quash a grand jury subpoena,
docket No.300, was filed before the wrong court. The court adroitly noted that Chief
Judge Pallmeyer was responsible for all grand jury matters. Mr. Chiphe and the Federal
Defender program should have competently known of these facts and had filed in that
venue accordingly.

Robert was compelled by this court, in view of his indigency, to have all court
filings made by stand-by counsel. However, this did not give Standby counsel the right
to make any decisions relative to the contents of what a motion would consist of or what
could be filed. During a conversation of Friday April 23, 2021 Mr. Chiphe admitted that
he had removed exhibits that were part of one of Robert’s motions. These exhibits were
not subsequently filed. Additionally, Robert has learned that to further deprive Robert
his due process rights the federal defender program has repeatedly without explanation
failed to file a motion of Robert entitled: “Motion to authorize issuance of Subpoenas
Duces Tecum pursuant to Rule 17(c)”. Likewise, a motion to modify the protective order
was sent to Mr. Chiphe on April 13, 2021 was also not filed appropriately.

Robert’s defense has been compromised by the unilateral action of the federal
defenders. In particular, on February 21, 2021 and later on March 22, 2021 Robert
emailed this motion to Mr. Chiphe and requested that it was filed. (See Group Exhibit
A). Without the ability to compel discovery Robert’s defense is doomed. The willful

failure of the Federal Defender program to file this reasonable motion is akin to

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sabotage. Inexplicably, these motions have not been filed. It is unduly burdensome and
expensive for pro-se indigent Robert to have to backtrack to determine what exhibits or
motions have been wrongfully excluded.

These were not the first time where Mr. Chiphe failed to file when a response was
appropriate under the circumstances. On October 19, 2020, the government filed a
motion to revoke Robert bond. The motion contained sealed exhibits that to date have
not been unsealed. Rather, then file a response to the motion Mr. Chiphe choose to do
nothing. Robert had prepared a response and e-mailed same to his counsel. Mr. Chiphe
agreed to meet Robert several hours prior to the court hearing. However, Mr. Chiphe
never arrived. When a defendant’s freedom is at stake a written response could have and
should have been forthcoming. Effective assistance of counsel means more that showing
up to a hearing unprepared. Lack of a written response was not effective assistance of
counsel.

The total blackout protective discovery order of August 2020 was agreed to by
Mr. Chiphe without any consultation with his client whatsoever. This order conceals and
shrouds what should otherwise be public information without a showing of any need
whatsoever. This is counterproductive to Robert’s and the public long established right
to access. There is scarcely any countervailing reason that all discovery has been
deemed sensitive. Undoubtedly many unwary bank customers would be interested to
learn that their information was also misappropriated, their identities stolen and
assumed for nefarious bank purposes. Their good credit worthiness destroyed as a
result.

Mr. Chiphe knew what compliance this order required. Yet failed to heed the

order’s obvious clear directive. Many important rights of a criminal client can be

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protected and preserved only by prompt legal action. However, despite Robert’s
persistent requests Mr. Chiphe and the Federal Defender program have repeatedly
failed to file his motion entitled Motion to Authorize Issuance of Subpoenas Duces
Tecum. The Sixth Amendment guarantees the right of the accused “to have compulsory
process for obtaining witnesses in his favor.” The prosecutor has the power to compel
witnesses to attend by using the police system at the government's disposal. Thus, the
Sixth Amendment levels the playing field by allowing this same ability to the Defendant.
Washington v. Texas, 388 U.S. 14 (1967). Indigent Robert’s rights are frustrated by the
inability of stand by counsel to function as competent counsel should. This is most
troubling because obviously this is not the first rodeo for the federal defender program.
Accordingly, a reasonable inference has arisen that standby counsel have deliberately
stonewalled Robert so that the prosecution may gain an advantage.

The mandatory appointment of stand by counsel has served to entirely
undermine and retard Robert’s defense. It is the very opposite of effective assistance of
counsel. Not a counsel that helps but only serves to sandbag and doom a defendant.
Robert has been rendered indigent by FDIC-R from these proceedings not ignorant. His
legal education and long career as an attorney have made him uniquely qualified to
represent himself. The Federal Defenders operating as a giant brake will only deprive
Robert of his freedom. Regrettably, Robert is unable presently to train the Federal
Defenders on filing techniques. It is unfair to have such bunglers thrust upon a hapless
defendant struggling for his life. This is the United States of America. A man’s freedom
is at stake. The proven defects of this stand-by counsel demonstrate as a snapshot of the

exact meaning of ineffective assistance of counsel.
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The court’s order to have stand by counsel accompany Robert as he seeks to
employ processes to secure witnesses for the defense violates the Sixth Amendment
under these circumstances. The right to compulsory process can also be violated
because of a judge’s behavior. If a judge is not even-handed in his warnings against
perjury to prosecution and defense witnesses, or, by his behavior, causes a defense
witness to fail to testify by intimidating the witness, the Sixth Amendment right to
present a witness may have been violated. Robert’s trust in his standby counsel is
justifiably irretrievably shaken in view of the foregoing history.

The conditions of his bond do not allow Robert to thoroughly investigate and
contact witnesses. Robert is not accused of a crime of violence. Nor does he have any
criminal history whatsoever. Having to tote along stand by counsel of dubious loyalty
will undoubtedly intimidate every prospective witness. There is a reasonable real fear
that Robert’s witness interviews will be transmitted directly to the prosecution team.
Restricted to solely being able to telephone any witness is entirely unsatisfying. Robert
seeks personal contact in order to weigh the prospective witnesses credibility and
knowledge. Placing buffers in defendant’s path of obtaining witnesses obstructs
meaningful compulsory processes for obtaining witnesses.

There is a strong constitutional right to be represented by the counsel of one’s
own choosing. Mr. Chiphe and the Federal Defender have proven themselves
systematically likely to render legal services beneath the level the court deems adequate
and professional. Robert’s defense clearly has been undoubtedly prejudiced,
compromised as a result of their continuing comedy of errors. Robert is being denied
effective assistance of counsel as a result. Consequently, Robert would rather conduct

his own representation rather than be represented in any capacity to his detriment, by

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those shown to be inadequate to the task. This case cannot be treated as a training
ground. Robert learned this previously when no response was filed to a motion to revoke
bond, prior to his being incarcerated for two cold solitary months. Further, that Mr.
Chiphe did not ensure that available witnesses were called to testify in Robert’s defense.

Robert has been compelled to have the presence of Mr. Chiphe when he is
contacts investigates witnesses for his defense. The foregoing examples of inadequacy
have undermined Robert’s faith in the Federal Defender Program. Reasonably, Robert
lack of confidence has risen to a level where he is unable to further confide and repose
trust in stand-by counsel. Respectfully, Robert does not want to disclose who he might
be contacting for his defense or for what purpose for fear of further sabotage. Or what
testimony Robert considers favorable and material at trial. Mr. Chiphe and the Federal
Defender Program have become an impediment, distraction, and the very definition of
ineffective assistance of counsel. Their further involvement in this case only serves to
harm Robert’s defense.

Wherefore, Robert moves this Honorable Court to enter an order:
A.) allowing Mr. Chiphe and the Federal Defender Program to withdraw.
B.) Leave to cure the filing deficiencies of Mr. Chiphe and the Federal Defender
Program without prejudice.

C.) or such other and further relief as the court deems just and equitable.

eit

Robert M. Kowalski

1009 61° Street

Lagrange Highlands, Illinois 60525
(708)307-4497
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19 CR 226 Metion 6 authorize su poena 9 9

Robert Kowalski <Robertk.24@outlook.com>
Mon 3/22/2021 5:39 PM
To; Imani Chiphe <Imani_Chiphe@fd.org>

Q 1 attachments (20 MB)
motion to authorize subpoenas 1st time.pdf;

Dear Imani:
Attached is the captioned motion. May | request that it is filed?
Very Truly Yours,

Robert M. Kowalski

Exhibit A
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Robert Kowalski <Robertk.24@outlook.com>
Sun 2/21/2021 9:19 PM

To: Imani Chiphe <Imani_Chiphe@fd.org>

1 attachments (20 MB)
scan0021.pdf;

Dear Mr. Chiphe:

May | request that the attached motion for subpoenas is filed? Also, it has come to my attention that my motion
that had been provided earlier for prosecutorial misconduct has not been filed. May | request that it is filed as soon
as possible?

Very Truly Yours,
Robert M. Kowalski,
Attorney at Law
(708)307-4497

Exhibit A
